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                             UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________

United States of America,

       Plaintiff,

v.                                               Civil No. 22-cr-48 ECT/ECW

Steven Dornsbach; Kamida, Inc.,                  DISQUALIFICATION ORDER

      Defendants.
__________________________________________________________________

       Because criminal case number 22-cr-48 ECT/ECW involves U.S. Magistrate Judge

Dulce J. Foster as a potential trial witness, it is hereby determined that all U.S. District

Judges and U.S. Magistrate Judges of the above Court are disqualified from presiding over

the matter.

       Based on the files, records, and proceedings herein:

       IT IS SO ORDERED.



DATED: August 29, 2022                                      s/Patrick J. Schiltz
at Minneapolis, Minnesota.                                 PATRICK J. SCHILTZ
                                                               Chief Judge
                                                         United States District Court
